         2:17-cr-20037-JES-JEH # 492           Page 1 of 2                                          E-FILED
                                                                 Wednesday, 30 October, 2019 11:15:21 AM
                                                                             Clerk, U.S. District Court, ILCD
                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                             )
                                                      )
                      Plaintiff,                      )
                                                      )
       v.                                             )      Case No. 17-cr-20037-JES-JEH
                                                      )
BRENDT A. CHRISTENSEN,                                )
                                                      )
                      Defendant.                      )

                                              ORDER

       This matter is now before the Court on the letter from Paul Cicchini requesting that the Court

unseal all remaining sealed documents in this case. (ECF No. 489). The Government and Defendant

have provided a response. (ECF Nos. 490 and 491). On October 24, 2019, the Court entered an

Order directing the Clerk of the Court to unseal the remaining documents; provided however, the

Clerk was further directed to replaced certain documents with redacted versions provided by the

Government. (TEXT ONLY ORDER dated 10/24/2019). This Order is intended to provide some

additional clarification regarding the extent of the unsealing of documents.

       Documents containing original signatures, where redacted versions of the documents are

contained in the records, will not be unsealed. (See e.g. ECF Nos. 488, 485, 482, 428, 407, 405, 378,

347, 190, 27, 14, 9, and 2). Documents that are used for administrative purposes by the Court, and

traditionally sealed, will not be unsealed. (See e.g. ECF Nos. 486, 476, 28, 22, and 7); see also

ILCD-LR 32.1. Ex parte motions requesting subpoenas will not be unsealed. Document (ECF No.

32) will not be unsealed, and the description of the document and reasons for sealing are thoroughly

explained in the Order dated January 18, 2019 (ECF No. 52), which will be unsealed.



       SO ORDERED this 30th day of October 2019.

                                                  1
2:17-cr-20037-JES-JEH # 492   Page 2 of 2



                                     s/ James E. Shadid
                                       James E. Shadid
                                United States District Court Judge
                                    Central District of Illinois




                                2
